Case 2:10-md-02179-CJB-DPC Document 5795-6 Filed 02/21/12 Page 1of3

Exhibit A
Case 2:10-md-02179-CJB-DPC Document 5795-6 Filed 02/21/12 Page 2 of 3

Revised List of Short Forms

Bonnie Beckman

Charles Beckman

Jenny Browning

Thomas Browning

Kimberly Burgett

Randall Burgett

Rita A. Callihan

Lamar Chatham

Sylvia Chatham

Grady Church

Janis Connor

Paul D’Agnese

Russeil Daniel

DebtX LLC

Delta Southern Resource, LLC
Mark Dickinson

Diversified Executive Crestwood LLC
Don Bishop 108 LLC

Entrust Administration of the Southeast, Inc., as Custodian of IRA Account 1325
James Ezell

James Ezell, Jr.

Kenneth Flake

Patricia Hackley

Jeff Hagood

James Harper

James Hart
Hilsman-Morrison, LLC .
James Holland

Sandra Holland

International Dev Group J LLC
Dixie Johnson

Tommy Johnson

James Joiner, Jr.

James Joiner, Sr.

Wilma Joiner

Michael F. Koch

James Lane

LaRiva 5B, LLC
Case 2:10-md-02179-CJB-DPC Document 5795-6 Filed 02/21/12 Page 3 of 3

Karen Lynn

Leon Lynn

Alton Mathis

Charles Mathis, Jr,

James Mayes

Sarah Mayes

Jamie McConnell

Kelli Ann McConnell

MDP Holdings LLC

Money Coastal Development Corporation
Edward and Carla Moreland
Dariusz Mrozinski

Jadwiga Mrozinski

Northern Aviation Unlimited
Steve Norton

John Omohundro

Peggy Omohundro

Peggy Ann Picard

Pruitt Seafood

Costa Regas

Renta Living Trust (and Sam Renta)
Roy H. Swatzell, Jr. 2002 Recovable Trust
Gray and Nancy Sass

Michael Springrose

Sally Springrose

Sterling Trust Company

Robert Theus

Angela Trantham

Charles Trantham

Turner Furniture Holding Corp.
Edward Updike

Kumberly Updike

Gail Witter

Wayne Witter

Isabelle Yaroch
